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                        PBS International A/S
                                                                                                    3 ^ pj6nu5tan
                    m      VISA       VISA



         Name;                    Dataceli ehf.            Representative:           (5lafur Sigurvinsson
        Alternative Name;         Sunshine Press          ID No. of Representative: 270764-2159
        Reg. No.:                 460709-0160             Telephone/Fax;             5124400
     Address;                     Skiilagata 19
     Postal Code and City:        101 Reykjavik                                      afink@datacell.com
                                                          E-mail forStatements:      same
     Type of Business:            Datacenter              Bank Account No.;          0301-26-054073
     {Hereinafter referred to as theMerchant)
                                                          EUR; IS6303 0138 7189 7146 0709 0160
                                                              SWIFT: ESJAISRE
    And Kortathjonustan ehf.                   together with PBS International A/S
    Sklpholt SOb                               Laulrupbjerg 10,
    105 Reykjavik, Iceland                     2750 Ballerup, Denmark
    Reg. No. 4306023650                      CVR No. 4113 6111



    Have today entered into acontract on acquiring services by PBS                          ba ^      j
   JCB card transactions with the Merchant with the assistance of Kortathjonustan.
   This contract is accompanied by the following annexes (see www.korta.isl-
   1. General Rules for the acceptance of payments with International payment cards July 2002

   3. Rules applicable to online commerce (Additional Rules for Online Merchants!
   4. Services rendered by Kortathjonustan in respect of card transactions.
  The annexes form an integral part of the Contract
  AuthoWsatfon:




  Prices;

  POS service charge: 2.80% for MasterCaed, VISA JCB and forpipn UKA cu.,.
  POS service charge: 0.60%, minimum 10 ISK and maximum 220 ISK for VISA T
  internet/ MOTO service charge: 2.80% for MasterCard, VISA and JCB (leave blank If^c^^lser'""
 The PBS service charge covers:
     . complete acquiring ofMasterCard, Visa, Visa Elektron and JCB
     • Direct connection authorisation of all transactions 24 hours aday 365 davsa vear

     •      Dally settlement oftransaclicns from PBS International
     • Payment in ISK (Icelandic crowns) into the Merchant's account
    •       Settlement overview sent via e-mail
    • Settlement Report (with decimal-commas) sent via e-mail
    • Customer services in English 24 hours aday, 365 days ayear

Additional charges
    • Retrieval Charge DKK 250,S0 for each retrieval claim. The Charge is not
      collected if the objections made by the cardholders are justified.
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                      PBS International A/S
                                                                                                        SaH w6nustan


       Settlement



                                                  r ::r
                                                                                                   r:rrc;r:c
       Tuesday                 Wednesday               Thursday
       Wednesday              Thursday                 Friday
       Thursday               Friday                   Monday
       Friday                 Saturday                Monday
      Saturday                Tuesday                 Wednesda
      Sunday                  Tuesday                 Wednesday
      Monday                 Tuesday                  Wednesdax




     sr£:rirp:r:;;:ssr;czt:;:r»s^^^
     transfer to the Merchant's bank account in Iceland. '                                               's carried out as adomestic
    PBS International sends a settlement report with detailed informatiftn nn *               ^•
    „report using decimal-commas to an e-mail address provided by the Merchant.                                                        '
    Service provider and processor:
    Kortathjonustan ehf. Skiphoiti 50b. 105 Revkiavik trf^lanH - ir   .     -
    as regards acquiring, data processing direct authorisatiom                                                           to Annex 4
   Kortathjonustan
   Will             and the Merchant
        provide the Merchant with an will receive the
                                     settlement       settlement L„T
                                                  overvtwTnT'    report ina, "®          7                          International.
                                                                                                   InternBtionai. Kortathjonustan
   Will come directly from PBS (nternational.                                   paymen s according to the settlement report
   Kortathjonustan will be the Merchant's local service orovidpr Th=,t              •«. u
   telephone number and an e-mail address. The serrercTm^n                        "          'T'"'
   to Kortathjonustan and on settlements where Kortathjonustan will an                                  transmitted of transactions
   and settlement
   provide back-upOfservices,
                      transactions.  i„ciuc.i„;i:;::::^r:ro:„:::;:::~
                              i.e. services to the customer in English 24 hours ad^v               ri             'nternationai will
  service regarding transactions and settlements as set out below.                                        ^            ^telephone
  [table with contact Information]

  ResponslbHityfor relationship with Merchant*
  PBS International isfully responsible for and controls the r p h t i n n c h : ^ / . . .
  the services to be provided by Kortathjonustan to the Merchant.                                          Merchant, including
  Iceland, 18.10.10                    Ballerup                        Iceland




                                                                          fstonott/rel
                                     PBS International A/S
                                                                      Kortathjonustan

                                                                                 Reykjavik,         f. cP//
                                                                                    Certified translation
                                                                                    Ingvar H. Eggertsson
